        Case 6:23-cv-00759-ADA Document 8 Filed 12/29/23 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                          WACO DIVISION

SOVEREIGN PEAK                          §
VENTURES, LLC,                          §
    Plaintiff,                          §
                                        § CASE NO. 6:23-cv-759-ADA
v.                                      §
                                        §
HMD GLOBAL and HMD                      § JURY TRIAL
GLOBAL OY,                              §
    Defendants.                         §


  NOTICE OF AGREED EXTENSION OF TIME FOR DEFENDANT TO
      ANSWER OR OTHERWISE RESPOND TO COMPLAINT

      Having conferred, the parties agreed to a forty-five day extension of time to

respond to Plaintiff’s complaint, from January 2, 2024 to February 16, 2024.


Dated: December 29, 2023              Respectfully submitted,

                                      CONNOR LEE & SHUMAKER PLLC


                                      By:
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         Case 6:23-cv-00759-ADA Document 8 Filed 12/29/23 Page 2 of 2




                                            512.646.2060 Telephone
                                            888.387.1134 Facsimile


                          CERTIFICATE OF SERVICE

      I hereby certify that on December 29, 2023, I caused the foregoing

Unopposed Motion for Extension of Time to be served by electronic mail on the

following:

Valerie Barker
Slayden Grubert Beard PLLC
401 Congress Avenue, Suite 1650
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                                            /s/ Cabrach J. Connor
                                            Cabrach J. Connor




NOTICE OF AGREED EXTENSION OF TIME                                         PAGE 2
